                                                            Case 3:20-cv-02285-SK Document 4 Filed 04/08/20 Page 1 of 2


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                                                   17                                UNITED STATES DISTRICT COURT
                                                   18                             NORTHERN DISTRICT OF CALIFORNIA
                                                   19
                                                        SARAH SILVA, individually, and on behalf Case No.: 3:20-cv-02285-SK
                                                   20   of other members of the general public
                                                        similarly situated;                          CERTIFICATE OF INTERESTED
                                                   21                                                PARTIES
                                                                              Plaintiff,
                                                   22
                                                   23                   v.

                                                   24   FIRST TRANSIT, INC., and DOES 1
                                                        through 10, inclusive,
                                                   25
                                                                               Defendant.
                                                   26
                                                   27
                                                                Pursuant to FRCP 7.1 and LR 13-5 the undersigned, counsel of record for Plaintiff
                                                   28

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                                                                                   CERTIFICATE OF INTERESTED PARTIES
                                                           Case 3:20-cv-02285-SK Document 4 Filed 04/08/20 Page 2 of 2




                                                    1   SARAH SILVA certifies that there are no known interested parties other than those to this action.
                                                    2   This representation is made to enable Judges of the Court to evaluate possible recusal.
                                                    3
                                                    4   DATED: April 8, 2020                                 Respectfully Submitted,
                                                    5                                                        THIERMAN BUCK LLP
                                                    6                                                        /s/ Mark R. Thierman
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                                                                                 CERTIFICATE OF INTERESTED PARTIES
